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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

ANTHONY CASTILLO SANCHEZ,                      )
                                               )
                     Petitioner,               )
                                               )
vs.                                            )          NO. CIV-10-1171-HE
                                               )
CHRISTE QUICK, Warden,                         )
                                               )
                     Respondent.               )

                                          ORDER

       Pursuant to the limited remand of this case by the Court of Appeals, the court

conducted a hearing this date directed to its August 7, 2023, order relating to access to files

and records maintained by petitioner’s former counsel. Also addressed at the hearing was

petitioner’s motion for stay of execution, filed subsequent to the order of remand. The

court heard the arguments of counsel as to both matters.

       For the reasons stated more fully from the bench, the court’s August 7, 2023, order

[Doc. #85] is VACATED as to the disposition of the records. Former counsel are

authorized to turn over the materials to Mr. Allen or his authorized representative

immediately. The investigator referenced in some of the filings (Mr. Ballard) is not

authorized to receive the materials.

       With respect to the motion for stay and as stated more fully from the bench, the

court has considerable doubt whether it has the authority to issue a stay of execution in the

circumstances existing here. There are no substantive issues remaining for resolution in

this habeas case which is, apart from collateral matters, completed. Absent authorization
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from the Court of Appeals, no further request for habeas relief can be entertained by this

court and there has been no such authorization.

       Even assuming this court has the authority to issue a stay in the present

circumstances, it would nonetheless deny the motion. A stay of execution requires a

showing by petitioner of a “significant possibility of success on the merits.” Pavatt v.

Jones, 627 F.3d 1336, 1338 (10th Cir. 2010). Here, petitioner has made no such showing.

There has been no suggestion of a plausible basis for petitioner being entitled to relief.

Rather, petitioner’s argument is entirely speculative — that he might be able to identify

some new issue once his new counsel looks through the case materials. That is wholly

insufficient as a basis for stay. The motion for stay of execution [Doc. #100] is therefore

DENIED.

       The court reporter is directed to expedite the preparation of a transcript in the event

either party pursues an appeal from this order.

       IT IS SO ORDERED.

       Dated this 13th day of September, 2023.
